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                                                                                       FILED IN CHAMBERS
                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA                               U.S.D.C. Atlanta          :f
                                       ATLANTA DIVISION                                         FEB - Z 18            ·1

UNITED STATES OF AMERICA                                                                               Deputy Clerk

-vs-                                                                 Case No.      1: 17-cr-221-0DE

FRANKLIN B. TRELL
                                                                     Defendant's Attorney
                                                                     Robert H. Citronberg


                                   JUDGMENT IN A CRIMINAL CASE
                         (For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count(s) One of the Information.

Accordingly, the defendant is adjudged guilty of such count(s) which involves the following offense:

Title & Section                   Nature of Offense                                       Count No.

18 USC§§ 1343, 1344               Conspiracy to Commit Wire Fraud, Bank                   One
and 1957and                       Fraud and Money Laundering
18 USC§ 371

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $100.00 which shall be due immediately.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district within
thirty days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.         XXX-XX-0401               Date of Imposition of Sentence: January 31, 2016
Defendant's Date of Birth:        1946
Defendant's Mailing Address:
Atlanta, GA

Signed this the     '7     day of February, 2018.



                                                                    ORINDA D. EVANS
                                                                    UNITED STATES DISTRICT JUDGE
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                                             IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of SIXTY (60) MONTHS.

The Court recommends that the Bureau of Prisons designate Maxwell Camp, Alabama as place of service
of this sentence.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
as notified by the United States Marshal.




                                                 RETURN

I have executed this judgment as follows:




Defendant delivered on                                    to


at   - - - - - - - - - - - - - - - - - - , , w i t h a certified copy of this judgment.


                                                                          UNITED STATES MARSHAL


                                                               By:
                                                                                      Deputy U. S. Marshal
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                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3)
YEARS.

While on supervised release, the defendant shall not commit another federal, state or local crime and shall
not illegally possess a controlled substance. The defendant shall comply with the standard and special
conditions that have been adopted by this court (set forth below). If this judgment imposes a restitution
obligation, it shall be a condition of supervised release that the defendant pay any such restitution that remains
unpaid at the commencement of the term of supervised release. The defendant shall comply with the
following additional conditions:


The defendant shall report in person to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

                                           SPECIAL CONDITIONS

Pursuant to 42 USC Section 14135a(d) and 10 USC Section 1565(d), which require mandatory DNA testing
for Federal Offenders convicted of felony offenses, the defendant shall cooperate in the DNA collection as
directed by the probation officer.

The defendant shall not own, possess or have under his control a firearm, dangerous weapon, or other
destructive device as defined in 18 USC§ 921.

The defendant shall submit to a search of his person, property, residence and/or vehicle at the request of the
U. S. Probation Officer.

The defendant shall make a full and complete disclosure of his finances and submit to an audit of his financial
documents, at the request of the Probation Office.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer unless the defendant is in compliance with the installment payment schedule.

The defendant shall perform 500 hours of community service as directed to do so by the Probation Office.

The defendant shall pay any financial penalty that is imposed by this judgment, and that remains unpaid at
the commencement of the term of supervised release at the monthly rate of $1, 000. 00 plus 25% of your gross
income in excess of 2500.00 per month

The periodic drug testing mandated by the violent crime control and Law Enforcement Act of 1993 is hereby
suspended.
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                             STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal, state or local crime. In addition:

1.     The defendant shall not leave the judicial district without the permission of the court or probation
       officer;

2.     The defendant shall report to the probation officer as directed by the court or probation officer and
       shall submit a truthful and complete written report within the first five days of each month;

3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
       of the probation officer;

4.     The defendant shall support his or her dependents and meet other family responsibilities;

5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

6.     The defendant shall notify the probation officer within 72 hours of any change in residence or
       employment;

7.     The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
       such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
       as directed by the probation officer to determine the use of any controlled substance;

8.     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered;

9.     The defendant shall not associate with any persons engaged in criminal activity, and shall not
       associate with any person convicted of a felony unless granted permission to do so by the probation
       officer;

10.    The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
       shall permit confiscation of any contraband observed in plain view by the probation officer;

11.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
       law enforcement officer;

12.    The defendant shall not enter into any agreement to act as an informer or a special agent of a law
       enforcement agency without the permission of the court;

13.    As directed by the probation officer, the defendant shall notify third parties of risks that may be
       occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
       the probation officer to make such notifications and to confirm the defendant's compliance with such
       notification requirement.
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                                              RESTITUTION

The defendant shall make restitution to the following person(s) in the following amounts:

Name of Payee                                             Amount of Restitution

Key Bank                                                  $2,348,836.65

-Individual to be provided under separate cover-          $17,751,571.60



Restitution to be paid jointly and severally with Cynthia Vinson, 1: 16-cr-286-0DE


The defendant shall make fine payments from any wages he may earn in prison in accordance with the
Bureau of Prisons Financial Responsibility Program. During the period of incarceration , you shall pay at a
minimum the greater of $25.00 or 50%of the deposits in your inmate trust account per quarter. Any portion
of the fine that is not paid in full at the time of the defendant's release from imprisonment shall become a
condition of supervision and be paid atthe monthly rate of$1,000.00 plus 25% of your gross income in excess
of 2500.00 per month
